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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  COMMSCOPE TECHNOLOGIES LLC,       )
                                    )
                   Plaintiff,       )                    C.A. No. 20-1053-JLH
                                    )
       v.                           )
                                    )
  ROSENBERGER SITE SOLUTIONS, LLC; )
  ROSENBERGER ASIA PACIFIC          )
  ELECTRONIC CO., LTD.; ROSENBERGER )                    JURY TRIAL DEMANDED
  TECHNOLOGIES (KUNSHAN) CO. LTD.; )
  ROSENBERGER TECHNOLOGIES LLC,     )
                                    )
                   Defendants.      )

                        NOTICE OF WITHDRAWAL OF COUNSEL
        PLEASE TAKE NOTICE that Saukshmya Trichi of Carlson, Caspers, Vandenburgh &

 Lindquist, P.A. hereby withdraws as counsel to Plaintiff CommScope Technologies LLC in the

 above-captioned matter. Plaintiff continues to be represented by Carlson, Caspers, Vandenburgh

 & Lindquist, P.A. and Richards, Layton & Finger, P.A.

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 Dated: January 17, 2025
